Case 3:18-mj-00050-DJN Document1 Filed 03/23/18 Page 1 of 1 PagelD# 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA

) .
3 N)
Vv.
) Criminal No. 3:18mj O 80 ( ty)
RYAN L. HOOKER, )
J ;
Defendant. )
CRIMINAL INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

COUNT ONE
(Citation No. 6831493)

Beginning in or around July of 2016, and continuing through in or around September of
2017, in the Eastern District of Virginia, the defendant, RYAN L. HOOKER, a United States
Postal Service employee, did knowingly and willfully obstruct or retard the passage of the mails
by discarding mail entrusted to him in his capacity as a mail carrier such that the mail was not
delivered to the addressed recipients.

(In violation of Title 18, United States Code, Section 1701.)

TRACY DOHERTY-MCCORMICK
ACTING UNITED STATES ATTORNEY

By: TL Ave

Thomas A. Garnett
Assistant United States Attorney

 
